  Case 1:09-cv-00626-GJQ ECF No. 59, PageID.674 Filed 09/13/10 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


EMILY C. KROLL,

                   Plaintiff,
                                        Civil Action No.: 1:09-CV-626
vs.
                                        HON. GORDON J. QUIST

WHITE LAKE AMBULANCE
AUTHORITY,

                   Defendant.


Bradley K. Glazier (P35523)             Robert A. Callahan (P47600)
BOS & GLAZIER, P.L.C.                   PLUNKETT COONEY
Attorneys for Plaintiff                 Attorneys for Defendant
990 Monroe Avenue, N.W.                 950 Trade Centre Way, Ste. 310
Grand Rapids, MI 49503                  Kalamazoo, MI 49002
(616) 458-6814                          (269) 382-5935

                                        Douglas M. Hughes (P30958)
                                        WILLIAM HUGHES & COOK PLC
                                        Co-Counsel for Defendant
                                        120 W. Apple Avenue
                                        P.O. Box 599
                                        Muskegon, MI 49443
                                        (231) 727-2119




            PLAINTIFF’S MOTION TO ALTER OR AMEND JUDGMENT
   Case 1:09-cv-00626-GJQ ECF No. 59, PageID.675 Filed 09/13/10 Page 2 of 2




          Emily Kroll, by her counsel, Bos & Glazier, moves this court, pursuant to Fed. R. Civ.

P. 59 to alter its judgment awarding summary judgment to the defendant based on a clear

error of law and the need to prevent manifest injustice. See, Intera Corp. v. Henderson,

428 F.3d 605, 620 (6th Cir. 2005). Plaintiff’s motion is supported by the brief filed with her

motion.

                                             BOS & GLAZIER, P.L.C.
                                             Attorneys for Plaintiff


Date: September 13, 2010              By:     /s/ Bradley K. Glazier
                                             Bradley K. Glazier (P35523)

                                      BUSINESS ADDRESS:
                                           990 Monroe Avenue, N.W.
                                           Grand Rapids, MI 49503
                                           (616) 458-6814
.115157




                                                ii
